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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA,                                 :

                    Plaintiff,                            :        Case No. 3:14-cr-056

             v.                                           :        Judge Michael R. Barrett

EUGENE ROBERTS,                                           :        ORDER DENYING
                                                                   MOTION FOR
                    Defendant.                            :        COMPASSIONATE RELEASE


         This matter is before the Court on Defendant Eugene Roberts’s pro se motion for a

reduced sentence under 18 U.S.C. § 3582(c)(1)(A). (Doc. 48, filed 09/13/2021). In connection

with Amended General Order 20-21, attorney Thomas G. Eagle was appointed (Doc. 50) to

represent Defendant and thereafter filed a supplemental motion (Doc. 52, filed 10/07/2021) 1 on

his behalf. The United States did not respond to either filing. 2

    I.            BACKGROUND

         On July 2, 2014, Defendant pled guilty to one count of distribution of child pornography

in violation of 18 U.S.C. § 2252(a)(2) and (b)(1). (Docs. 27, 28). He was later sentenced to 240

months of imprisonment, followed by a lifetime of supervised release. (Docs. 35–37).

Defendant, who is 66 years-old, is currently incarcerated at FCI Loretto. “Find an inmate,”

Federal Bureau of Prisons available at (https://www.bop.gov/inmate loc/ (last visited

11/12/2021). His projected release date is April 18, 2031. Id.


         1
           Appointed counsel has requested an “oral or evidentiary” hearing in this matter. The Court concludes that
oral argument is not essential to the fair resolution of the issues Defendant raises vis-à-vis compassionate release.
See S.D. Ohio Civ. R. 7.1(b)(2) & S.D. Ohio Crim. R. 1.3. Nor is additional evidence needed given Defendant’s
vaccination status. See infra pp. 7–8.

         Amended General Order 20-21 provides, “The government shall have 14 days from the filing of the
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supplement to respond, at which time the matter shall stand ripe for adjudication.”

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    II.       DISCUSSION

    A. Availability of Compassionate Release

          Pertinent here, the court “may not modify a term of imprisonment” based on a

defendant’s compassionate release motion 3 until “after the defendant has fully exhausted all

administrative rights to appeal a failure of the BOP to bring a motion on the defendant’s behalf

or the lapse of 30 days from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). The Sixth Circuit has ruled that,

despite the circumstances presented by COVID-19, the exhaustion requirements found in

§ 3582(c)(1)(A) are mandatory and thus present “a glaring roadblock foreclosing compassionate

release.” United States v. Alam, 960 F.3d 831, 835 (6th Cir. 2020) (quoting United States v.

Raia, 954 F.3d 594, 597 (3rd Cir. 2020)). Prisoners have two routes, then, to directly petition

courts for compassionate release: (1) file a motion after fully exhausting administrative appeals

of the BOP’s decision not to file a motion for compassionate release, or (2) file a motion after

“the lapse of 30 days from the receipt ... of such a request” by the warden of the prisoner’s

facility. 18 U.S.C. § 3582(c)(1)(A).

          Defendant declares (under penalty of perjury) that he “personally submitted [his] request

for compassionate release to the Warden” and his request was denied on July 23, 2020. (See

Doc. 48 PAGEID 194–95, 198). However, no written copies of Defendant’s request and the

Warden’s denial are attached either to Defendant’s pro se motion or appointed counsel’s


          3
           Section 603(b) of the First Step Act allows inmates to file motions for compassionate release in federal
court. Previously these motions could only be brought by the Director of the Bureau of Prisons, “and as a result,
defendants seldom were released.” United States v. Owens, 996 F.3d 755, 758–59 (6th Cir. 2021). “The BOP used
that power so ‘sparingly’ that the Department of Justice’s Inspector General found in a 2013 report that an average
of only 24 imprisoned persons were released each year by BOP motion. According to the same report, the BOP
poorly managed the compassionate-release process and failed to establish timeliness standards for reviewing
prisoner requests, causing delays so substantial that inmates sometimes died awaiting final BOP decisions.” United
States v. McCoy, 981 F.3d 271, 276 (4th Cir. 2020) (citations omitted). Cf. United States v. Alam, 960 F.3d 831, 835
(6th Cir. 2020) (“No one contests that Congress made this change to increase access to compassionate release.”).

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supplement.

        “[M]andatory claim-processing rules bind the courts only when properly asserted and not

forfeited.” Alam, 960 F.3d at 833 (citing Eberhart v. United States, 546 U.S. 12, 19 (2005)).

Because the United States failed to respond to either Defendant’s pro se motion or appointed

counsel’s supplement, it has waived any argument contesting the fact of exhaustion. Thus, the

undersigned can proceed to the merits of Defendant’s motion.

    B. No Extraordinary or Compelling Reasons Support a Reduction in Sentence

        “The ‘compassionate release’ provision of 18 U.S.C. § 3582 allows district courts to

reduce the sentences of incarcerated persons in ‘extraordinary and compelling’ circumstances.”

United States v. Jones, 980 F.3d 1098, 1100 (6th Cir. 2020) (citing 18 U.S.C. § 3582(c)(1)(A)).

A three-step inquiry is necessary. Id. at 1101. “[A]t steps one and two of the § 3582(c)(1)(A)

inquiry, district courts must find both that ‘extraordinary and compelling reasons warrant [a

sentence] reduction’ and ‘that such a reduction is consistent with applicable policy statements 4


        4
          The policy statement of the Sentencing Commission appears at Section 1B1.13 of the Guidelines
and provides in relevant part:

        Upon motion of the Director of the Bureau of Prisons under 18 U.S.C. § 3582(c)(1)(A), the court
        may reduce a term of imprisonment (and may impose a term of supervised release with or without
        conditions that does not exceed the unserved portion of the original term of imprisonment) if, after
        considering the factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, the
        court determines that—

        (1)(A) Extraordinary and compelling reasons warrant the reduction;
        ….

        (2) The defendant is not a danger to the safety of any other person or to the community, as
        provided in 18 U.S.C. § 3142(g); and

        (3) The reduction is consistent with this policy statement.

U.S.S.G. § 1B1.13 Reduction in Term of Imprisonment Under 18 U.S.C. § 3582(c)(1)(A) (Policy
Statement). The Commentary to § 1B1.13 describes several ways that a defendant can demonstrate an
“extraordinarily and compelling” reason, but only one concerning medical conditions unrelated to advanced
age:

        (A) Medical Condition of the Defendant –

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issued by the Sentencing Commission.” Id. at 1109 (emphasis in original). Jones clarifies that

“the passage of the First Step Act rendered [U.S.S.G.] § 1B1.13 ‘inapplicable’ to cases where an

imprisoned person files a motion for compassionate release.” Id. (citing United States v.

Brooker, 976 F.3d 228, 234 (2d Cir. 2020)). 5 “Until the Sentencing Commission updates §

1B1.13 to reflect the First Step Act, district courts have full discretion in the interim to

determine whether an ‘extraordinary and compelling’ reason justifies compassionate release

when an imprisoned person files a § 3582(c)(1)(A) motion.” Id. (emphasis added). In other

words, “federal judges may skip step two of the § 3582 inquiry[.]” Id. at 1111. Assuming an

extraordinary and compelling reason is found, step three then requires consideration of the




        (i)      The defendant is suffering from a terminal illness (i.e., a serious and advanced illness
                 with an end of life trajectory). A specific prognosis of life expectancy (i.e., a probability
                 of death within a specific time period) is not required. Examples include metastatic solid-
                 tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease, and
                 advanced dementia.

        (ii)     The defendant is –

                 (I)      suffering from a serious physical or medical condition,

                 (II)     suffering from a serious functional or cognitive impairment, or

                 (III)    experiencing deteriorating physical or mental health because of the aging
                          process,

        that substantially diminishes the ability of the defendant to provide self-care within the
        environment of a correctional facility and from which he or she is not expected to recover.

U.S.S.G. § 1B1.13 cmt. n.1(A).

          As discussed infra, the Sentencing Commission’s policy statement was not amended after the enactment of
the First Step Act, which now allows a defendant to file a motion for compassionate release. Rather, it still speaks
only to determinations by the Director of the BOP in the rare instance in which he would file such a motion with a
court.

        5
          Since Jones was decided, the Fourth, Fifth, Seventh, and Tenth Circuits also have reached the conclusion
that § 1B1.13 is inapplicable to inmate-filed compassionate release motions. See United States v. McCoy, 981 F.3d
271, 281–82 (4th Cir. 2020); United States v. Shkambi, 993 F.3d 388, 393 (5th Cir. 2021); United States v. Gunn,
980 F.3d 1178, 1180 (7th Cir. 2020); United States v. Maumau, 993 F.3d 821, 836–37 (10th Cir. 2021).


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applicable sentencing factors listed in 18 U.S.C. § 3553(a). Id. at 1106 (citing United States v.

Ruffin, 978 F.3d 1000, 1003–06 (6th Cir. 2020)).

         In Jones, the Sixth Circuit panel ultimately upheld the district court’s denial of

compassionate release by concluding that the trial judge’s assessment of the § 3553(a) factors did

not constitute an abuse of discretion. Id. at 1111–16. But because the trial judge assumed for the

sake of argument that extraordinary and compelling reasons would support a reduction in

sentence, the Jones concurrence observed that the majority’s discussion of § 1B1.13 was

unnecessary to the decision. Id. at 1116–17. Subsequently, however, the Sixth Circuit made its

position clear. “[W]e hold that § 1B1.13 is not an applicable policy statement for

compassionate-release motions brought directly by inmates, and so district courts need not

consider it when ruling on those motions.” United States v. Elias, 984 F.3d 516, 519 (6th Cir.

2021) (emphasis added). 6

         Considering the unique circumstances surrounding the coronavirus pandemic,

“[n]umerous courts have recently concluded that ‘extraordinary and compelling reasons’ exist

for purposes of § 3582(c)(1)(A) where inmates suffer from medical conditions that place them at

a higher risk of serious illness in the event they contract COVID-19.” United States v. Jackson,

No. 5:02-cr-30020, 2020 WL 2735724, at *3 (W.D. Va. May 26, 2020) (collecting cases). This

standard, coupled with an examination of the prison’s infection rates, was approved in—though

not mandated by—the panel in Elias. 984 F.3d at 520–21.

         Defendant seeks compassionate release based on his age and these “active” medical

conditions: benign prostatic hypertrophy, asthma, TIA (transient ischemic attack), COPD


         6
          The panel further clarified that, “as in Jones and Ruffin, district courts may deny compassionate-release
motions when any of the three prerequisites listed in § 3582(c)(1)(A) is lacking and do not need to address the
others.” Elias, 984 F.3d at 519.


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(chronic obstructive pulmonary disease), HTN (hypertension), blindness, and kidney stones.

(Doc. 48-1 PAGEID 210). In support, Defendant supplies a Bureau of Prisons Health Services

Medication Summary (current as of 08/02/2021) and two pages of excerpted medical records

with notes entered (on 06/23/2021) by a physician, Elias M. Rifkah, M.D., who appears to be an

outside provider. (Id. PAGEID 208–11). Appointed counsel calls the Court’s attention to the

following remark by Dr. Rifkah:

       Currently patient in the telemetry unit and I am concerned about his
       recurrent episode of chest pain in such a high risk profile patient that
       has every risk factors in the books and at this point I feel cardiology
       consult will be in order for consideration of cardiac catheter to put to rest
       this issue of recurrent chest pain or recurrent hospital admissions in the
       meantime I will continue his home medications and monitoring.

(Doc. 52 PAGEID 230 (quoting Doc. 48-1 PAGEID 211)).

       The Centers for Disease Control and Prevention (“CDC”) advises that “[o]lder adults are

more likely to get severely ill from COVID-19.” See “People With Certain Medical Conditions,”

Centers for Disease Control and Prevention (Oct. 14, 2021) available at

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited 11/12/2021) (“More than 81% of COVID-19 deaths occur in

people over age 65. The number of deaths among people over age 65 is 80 times higher than the

number of deaths among people aged 18-29.”) (emphasis added). In addition, adults of any age

with chronic kidney disease, chronic lung disease (including COPD and moderate-to-severe

asthma), and heart conditions 7 “can be more likely to get severely ill from COVID-19.” Id. In

the ordinary course, then, assuming a full complement of medical records supported the

diagnoses Defendant claims, the Court might be inclined to find that extraordinary and



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           High blood pressure (hypertension) may qualify as well. See id.


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compelling reasons support a sentence modification under § 3582(c)(1)(A). Jones, 980 F.3d at

1111. Not so here.

        Defendant represents that he “was the very first inmate to be hospitalized for covid 19

from Loretto FCI.” (Doc. 48-2 PAGEID 215). And, being classified as among “highest risk”

inmates, he was in the first group to be vaccinated. (Id.). 8 In this circumstance, the Sixth Circuit

recently has concluded,

        [Defendant’s] access to the COVID-19 vaccine substantially undermines
        his request for a sentence reduction. To that end, we agree with the
        Seventh Circuit that a defendant’s incarceration during the COVID-19
        pandemic—when the defendant has access to the COVID-19
        vaccine—does not present an “extraordinary and compelling reason”
        warranting a sentence reduction. United States v. Broadfield, 5 F.4th
        801, 803 (7th Cir. 2021 (Easterbrook, J.). After all, with access to the
        vaccine, an inmate largely faces the same risk from COVID-19 as those
        who are not incarcerated. To be sure, inmates in some respects face social
        distancing challenges distinct from those of the general public (although
        perhaps not entirely unlike students in dorm rooms, individuals in medical
        and assisted care facilities, and even residents of densely occupied
        apartment complexes). But to the extent prisons do offer some unique
        challenges, the vaccine now significantly reduces the risks associated with
        COVID-19. And at this intersection of law and science, we find wisdom
        in Judge Easterbrook’s assessment that “for people living in close
        quarters, vaccines offer relief far more effective than a judicial order.” Id.

United States v. Lemons, 15 F.4th 747, 751 (6th Cir. 2021) (emphasis added). See United States

v. Traylor, --- F.4th ---, No. 21-1565, 2021 WL 5045703, at *1 (6th Cir. Nov. 1, 2021)

(“Accepting the serious nature of [Defendant’s] alleged medical conditions, her argument is

foreclosed by our recent holding [in Lemons].”). In line with Lemons, then, because Defendant

Roberts is fully vaccinated 9 the undersigned fails to find that his age and claimed medical


         8
           One of the medical record excerpts indicates that Defendant received both doses of the Pfizer-BioNTech
vaccine in January 2021. (Doc. 48-1 PAGEID 210).

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          Overall, 759 inmates and 168 staff at FCI Loretto have been fully vaccinated and 0 inmates and only
1 staff member are currently positive. “COVID-19 Cases” and “COVID-19 Vaccine Implementation,” Federal
Bureau of Prisons available at https://www.bop.gov/coronavirus/ (last visited 11/12/2021). According to its website,
the BOP updates the open COVID-19 confirmed positive numbers each weekday at 3:00 p.m. Id.

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conditions constitute an extraordinary and compelling reason to support a sentence modification

under § 3582(c)(1)(A). 10

    III.        CONCLUSION

           Having found no extraordinary and compelling reasons in support of a sentence

reduction, the compassionate release analysis ends. Elias, 984 F.3d at 519; see also Tomes, 990

F.3d at 504 (citing Elias). 11 Accordingly, Defendant Eugene Robert’s pro se motion for a

reduced sentence (Doc. 48), as supplemented (Doc. 52), is hereby DENIED.

           IT IS SO ORDERED.

                                                       /s/ Michael R. Barrett
                                                       Michael R. Barrett, Judge
                                                       United States District Court




            See, e.g., United States v. Ho, No. 1:17-cr-0057, 2021 WL 4440189, at *4 (S.D. Ohio Sept. 28, 2021)
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(“However, ‘[n]ow that COVID-19 vaccinations are being administered throughout the Bureau of Prisons,
compassionate release motions [based on COVID-19 risks] generally lack merit.’”) (quoting United States v. Reed,
No. 18-cr-0078, 2021 WL 2681498, at *4 (E.D. Pa. June 30, 2021)); United States v. Baeza-Vargas, No. CR-10-
00448-010-PHX-JAT, --- F. Supp. 3d ---, 2021 WL 1250349, at *4 (D. Ariz. Apr. 5, 2021) (“Although Baeza-
Vargas’s age, hyperlipidemia (high cholesterol), and hypertension (high blood pressure) make her more likely to
suffer serious complications from COVID-19, . . . [because she will be] fully vaccinated shortly[,] . . . the Court
does not find that Baeza-Vargas has shown extraordinary and compelling reasons warrant[ing] a reduction in her
sentence.”); United States v. Rodriguez, No. 15-CR-0254 (PJS/BRT), 2021 WL 1187149, at *1 (D. Minn. Mar. 30,
2021) (“Given that Rodriguez is or will soon be fully vaccinated against COVID-19, the Court concludes that
Rodriguez’s obesity and hypertension are not extraordinary and compelling reasons justifying his release.”); United
States v. White, No. 15-cr-20040-01, 2021 WL 964050, at *2 (E.D. Mich. Mar. 15, 2021) (“The Court denies
Defendant’s motion for compassionate release because his access to the COVID-19 vaccine mitigates any
extraordinary and compelling reasons that might otherwise justify release.”); United States v. Singh, No. 4:15-CR-
00028-11, 2021 WL 928740, at *3 & n.36 (M.D. Pa. Mar. 11, 2021) (“The sum of this data demonstrates to the
Court that, as a result of his vaccination, Singh now has significant protection against serious illness or death should
he contract COVID-19 and, accordingly, the Court concludes that Singh has not demonstrated that his underlying
conditions—in combination with the possibility of a COVID-19 infection—provide extraordinary and compelling
reasons to grant his motion for compassionate release. This determination is in accord with the vast majority of
courts that have considered this issue.”).

         11
            Thus, the Court need not proceed to step three of the § 3582(c)(1)(A) inquiry, “considering” the
“applicable” sentencing factors listed in 18 U.S.C. § 3553(a). Elias, 984 F.3d at 519. See Traylor, 2021 WL
5045703, at *1 (citing Elias, “[B]ecause the district court determined that there was no extraordinary and compelling
reason to grant [Defendant’s compassionate release] motion, it also did not abuse its discretion by denying the
motion without addressing whether the 18 U.S.C. § 3553(a) factors support a sentence reduction.”).

                                                           8
